Case 2:22-cv-12951-MAG-JJCG ECF No. 51, PageID.764 Filed 05/03/23 Page 1 of 3




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION
JILL BABCOCK, et al.,                                Case No. 22-cv-12951
                                                     Hon. Mark A. Goldsmith
       Plaintiffs,

v

STATE OF MICHIGAN, et al.,

      Defendants.
______________________________________________________________________________

 LAW FOR BABY BOOMERS PLLC                        THE MILLER LAW FIRM, P.C.
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 (517) 292-0067                                   Attorneys for Defendants, Wayne County and
 elizabeth@abdnour.com                            Wayne County Building Authority
 Attorneys for Plaintiff
______________________________________________________________________________


                AMENDED APPEARANCE OF MELVIN B. HOLLOWELL

       PLEASE TAKE NOTICE that Melvin B. Hollowell of The Miller Law Firm, P.C. hereby

enters his Appearance on behalf of Defendants, Wayne County and Wayne County Building

Authority, in the above-captioned matter. Please serve all notices, copies of pleadings, papers and

other relevant materials upon the undersigned.
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                                               Respectfully Submitted,

                                               THE MILLER LAW FIRM, P.C.

                                               /s/Melvin B. Hollowell
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                                               Attorneys for Defendants, Wayne
                                               County and Wayne County Building
                                               Authority
Dated: May 3, 2023




                                      2
Case 2:22-cv-12951-MAG-JJCG ECF No. 51, PageID.766 Filed 05/03/23 Page 3 of 3




                           STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION
JILL BABCOCK, et al.,                              Case No. 22-cv-12951
                                                   Hon. Mark A. Goldsmith
       Plaintiffs,

v

STATE OF MICHIGAN, et al.,

      Defendants.
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 elizabeth@abdnour.com                          Wayne County Building Authority
 Attorneys for Plaintiff
______________________________________________________________________________


                                   PROOF OF SERVICE

       Melvin B. Hollowell certifies that on May 3, 2023, he caused to be served Amended Notice

of Appearance of Melvin B. Hollowell and this Proof of Service upon all counsel of record via

electronic filing system.

                                                          /s/ Melvin B. Hollowell
                                                          Melvin B. Hollowell
Dated: May 3, 2023
